Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 1 of 26




                         Exhibit
                           A
9/28/2018                                      Case Detail -1-1
                      Case 3:18-cv-01634-VAB Document        NNH-CV18-6085002-S
                                                                 Filed 09/28/18 Page 2 of 26




                                          NNH-CV18-
 Superior Court Case Look-up                                 ERRATO, ROBERT v. AMERICAN EXPRESS COMPANY Et Al
                                        6085002-S
  Civil/Family
  Housing                               Prefix/Suffix: [none]Case Type: M90  File Date: 09/25/2018 Return Date: 10/02/2018
  Small Claims                          Case Detail Notices History Scheduled Court Dates     E-Services Login       Screen Section Help
 -
 Attorney/Firm Juris Number Look-up                                           To receive an email when there is activity on this case, click here.
 -
 Case Look-up
  By Party Name
  By Docket Number
  By Attorney/Firm Juris Number          Information Updated as of: 09/28/2018
  By Property Address                                                                      Case Information
 -
 Short Calendar Look-up                                  Case Type: M90 - Misc - All other
  By Court Location                                 Court Location: NEW HAVEN JD
  By Attorney/Firm Juris Number                            List Type: No List Type
  Motion to Seal or Close                           Trial List Claim:
  Calendar Notices
 -                                                                     09/25/2018 (The "last action date" is the date the information was entered in the
                                                   Last Action Date:
 Court Events Look-up                                                 system)
  By Date
  By Docket Number                                                                     Disposition Information
  By Attorney/Firm Juris Number
 -                                                 Disposition Date:
 Pending Foreclosure Sales                             Disposition:
 -
                                               Judge or Magistrate:
 Understanding
 Display of Case Information
 -
                                                                                   Party & Appearance Information
 Contact Us
                                                                                                                                               No
                                          Party                                                                                                Fee Category
                                                                                                                                              Party
                                          P-01 ROBERT ERRATO                                                                                            Plaintiff
                                                Attorney:   BILLER SACHS ZITO & LEMOULT (409077) File Date: 09/25/2018
                                                          2750 WHITNEY AVENUE
                                                          HAMDEN, CT 06518
              Comments                    D-01 AMERICAN EXPRESS COMPANY                                                                               Defendant
                                               Non-Appearing
                                          D-02 LINKEDIN CORPORATION                                                                                   Defendant
                                               Non-Appearing
                                          D-03 GOOGLE, LLC                                                                                            Defendant
                                               Non-Appearing
                                          D-04 DAVID WHITAKER                                                                                         Defendant
                                               Non-Appearing


                                          Viewing Documents on Civil, Housing and Small Claims Cases:

                                          If there is an   in front of the docket number at the top of this page, then the file is electronic (paperless).


                                                  Documents, court orders and judicial notices in electronic (paperless) civil, housing and small
                                                  claims cases with a return date on or after January 1, 2014 are available publicly over the internet.*
                                                  For more information on what you can view in all cases, view the Electronic Access to Court
                                                  Documents Quick Card.

                                                  For civil cases filed prior to 2014, court orders and judicial notices that are electronic are available
                                                  publicly over the internet. Orders can be viewed by selecting the link to the order from the list
                                                  below. Notices can be viewed by clicking the Notices tab above and selecting the link.*

                                                  Documents, court orders and judicial notices in an electronic (paperless) file can be viewed at any
                                                  judicial district courthouse during normal business hours.*

                                                  Pleadings or other documents that are not electronic (paperless) can be viewed only during normal
                                                  business hours at the Clerk’s Office in the Judicial District where the case is located.*

                                                  An Affidavit of Debt is not available publicly over the internet on small claims cases filed before
                                                  October 16, 2017.*



http://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=NNHCV186085002S                                                                        1/2
9/28/2018                                      Case Detail -1-1
                      Case 3:18-cv-01634-VAB Document        NNH-CV18-6085002-S
                                                                 Filed 09/28/18 Page 3 of 26
                                          *Any documents protected by law Or by court order that are Not open to the public cannot be viewed by
                                          the public online And can only be viewed in person at the clerk’s office where the file is located by those
                                          authorized by law or court order to see them.

                                                                              Motions / Pleadings / Documents / Case Status
                                          Entry                    Filed
                                                   File Date             Description                                                                               Arguable
                                          No                        By
                                          100.30 09/25/2018            P SUMMONS                                                                                       No

                                          100.31 09/25/2018            P COMPLAINT                                                                                     No

                                          100.32 09/25/2018            P RETURN OF SERVICE                                                                             No


                                                                                  Scheduled Court Dates as of 09/27/2018
                                                      NNH-CV18-6085002-S - ERRATO, ROBERT v. AMERICAN EXPRESS COMPANY Et Al
                                            #     Date              Time               Event Description                                                Status
                                                                                       No Events Scheduled


                                         Judicial ADR events may be heard in a court that is different from the court where the case is
                                         filed. To check location information about an ADR event, select the Notices tab on the top of the
                                         case detail page.

                                         Matters that appear on the Short Calendar and Family Support Magistrate Calendar are shown as
                                         scheduled court events on this page. The date displayed on this page is the date of the calendar.

                                         All matters on a family support magistrate calendar are presumed ready to go forward.

                                         The status of a Short Calendar matter is not displayed because it is determined by markings made by
                                         the parties as required by the calendar notices and the civil or family standing orders. Markings
                                         made electronically can be viewed by those who have electronic access through the Markings History
                                         link on the Civil/Family Menu in E-Services. Markings made by telephone can only be obtained
                                         through the clerk’s office. If more than one motion is on a single short calendar, the calendar will be
                                         listed once on this page. You can see more information on matters appearing on Short Calendars and
                                         Family Support Magistrate Calendars by going to the Civil/Family Case Look-Up page and Short
                                         Calendars By Juris Number or By Court Location .

                                         Periodic changes to terminology that do not affect the status of the case may be made.

                                         This list does not constitute or replace official notice of scheduled court events.

                                         Disclaimer: For civil and family cases statewide, case information can be seen on this website for a
                                         period of time, from one year to a maximum period of ten years, after the disposition date. If the
                                         Connecticut Practice Book Sections 7-10 and 7-11 give a shorter period of time, the case information
                                         will be displayed for the shorter period. Under the Federal Violence Against Women Act of 2005, cases
                                         for relief from physical abuse, foreign protective orders, and motions that would be likely to publicly
                                         reveal the identity or location of a protected party may not be displayed and may be available only at
                                         the courts.




                                           Attorneys | Case Look-up | Courts | Directories | EducationalResources | E-Services | FAQ's | Juror Information | News & Updates |
                                                                                      Opinions | Opportunities | Self-Help | Home

                                                                           Common Legal Terms | Contact Us | Site Map | Website Policies

                                                                                Copyright © 2018, State of Connecticut Judicial Branch

                                                                                      Page Created on 9/28/2018 at 11:30:22 AM




http://civilinquiry.jud.ct.gov/CaseDetail/PublicCaseDetail.aspx?DocketNo=NNHCV186085002S                                                                                        2/2
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 4 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 5 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 6 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 7 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 8 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 9 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 10 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 11 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 12 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 13 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 14 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 15 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 16 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 17 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 18 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 19 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 20 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 21 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 22 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 23 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 24 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 25 of 26
Case 3:18-cv-01634-VAB Document 1-1 Filed 09/28/18 Page 26 of 26
